                      UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF OHIO
                              EASTERN DIVISION


In re:                                      Case No. 17-14920

   Richard McKay Osborne, Jr
   Tricia A. Osborne                        Chapter 7


                                            JUDGE ARTHUR I HARRIS




                   SPECIAL LIMITED NOTICE OF APPEARANCE
                    AND REQUEST FOR NOTICE ON BEHALF
                       OHIO DEPARTMENT OF TAXATION

        PLEASE TAKE NOTICE that the State of Ohio, Ohio Department of Taxation
appears herein by its counsel for the limited purpose of directing, pursuant to Fed. R.
Bankr. P. 2002(g), that all notices given or required to be given in this case and all
papers served or required to be served this case, be given and served at the address set
forth for it in the schedules and also at the following address:


                             Ohio Department of Taxation
                                c/o Christopher J Klym
                            24441 Detroit Road, Suite 300
                                Westlake, OH 44145
                                    440-871-8111
                                 440-871-2661 (Fax)




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       PLEASE TAKE FUTHER NOTICE that the foregoing request includes not only the
notice referred to in Fed. R. Bankr. P. 2002 but also includes, without limitation, any
orders, application, motions, petitions, plans, pleadings, requests, complaints or other
papers which affect or seek to affect in any way the procedural or equitable rights or
interests of Ohio Department of Taxation.

        This special limited notice of appearance is being filed for the sole purpose of
notifying the Court and the parties of the address to be used for service of notices,
orders, reports, and pleadings. The undersigned does not have the authority or capacity
to waive the sovereign immunity of Ohio Department of Taxation or of the State of Ohio
or to consent to this Court’s exercise of jurisdiction over Ohio Department of Taxation or
the State of Ohio. Accordingly, this special limited notice of appearance does not
constitute a waiver of sovereign immunity by or on behalf of Ohio Department of
Taxation, the State of Ohio, or any of its other departments, agencies, boards, or other
instrumentalities.



                                                State of Ohio
                                                Office of the Attorney General
                                                Mike DeWine



                                                /s/Christopher J. Klym_____________
                                               Christopher J. Klym (0062508)
                                               Special Counsel to the Attorney General
                                               Huffman, Hunt, Klym & Warner, LLC
                                               24441 Detroit Road, Suite 300
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                                               bk@hhkwlaw.com
                                               Attorneys for Defendant, State of Ohio




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                          CERTIFICATE OF SERVICE

I certify that on February 12, 2018a true and correct copy of this Notice of Appearance
was served:

      Via the Court’s Electronic Case Filing System on these entities and individuals
      who are listed on the Court’s Electronic Mail Notice List:

      Heather L. Moseman on behalf of Debtors Richard McKay Osborne, Jr & Tricia A.
      Osborne at: heather@mosemanlaw.com

      David O Simon, Trustee, at dsimon@epiqtrustee.com


      And by regular U.S. mail postage prepaid, on:


                          None




                                              Mike DeWine
                                              State of Ohio, Attorney General


                                              /s/Christopher J. Klym_____________
                                              Christopher J. Klym (0062508)
                                              Special Counsel to the Attorney General
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